WAYMO LLC,

                                                   3:17-cv-00939-WHA




UBER TECHNOLOGIES, INC.,
OTTOMOTTO LLC; OTTO TRUCKING LLC,




           Terri L. Mascherin
the Illinois Supreme Court and
U.S. Court of Appeals, 7th Circuit
                                     Uber Technologies, Inc.
                                                   Debra Grassgreen




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          October 27, 2020                     /s/ Terri L. Mascherin




                                                   Terri L. Mascherin
